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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                                        DECISION AND ORDER
                                                             12-CR-174S
             v.


MOHAMMED ALBANNAA,

                                Defendant.


I.     INTRODUCTION

       Pending before the Court is a motion (Dkt. No. 81) by defendant

Mohammed Albannaa for reconsideration of release on reasonable bail

conditions. Defendant has been in custody since he waived, without prejudice,

his right to a detention hearing on May 16, 2012; when defendant later invoked

his right to a detention hearing, the Court ordered defendant detained. (See

generally Dkt. No. 24, also available at 2012 WL 2602665.) In support of

reconsideration, defendant argues that he has obtained conditional resident

status for one year, which gives him lawful status in this country and thus

represents a change in circumstances from the Court’s prior order. Defendant

argues further that a suitable residence will be possible and that he should not

remain in custody while suppression hearings for his co-defendants’ motions run

their course. The Government opposes reconsideration, emphasizing that

defendant let his conditional resident status expire years ago, when he had a duty
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to maintain it, and that the current extension of that status may be short-lived.

The United States Probation Office (“USPO”) recommends continued detention

based on defendant’s lack of ties to the United States and this District in

particular.

        The Court held a bail review hearing on September 19, 2013. For the

reasons below, the Court grants the motion conditionally and sets minimum

conditions to be supplemented by recommendations from the USPO.

II.     BACKGROUND

        For the sake of brevity, the Court will not repeat the background

information that it provided in its prior order. Briefly, this case concerns

allegations that defendant and others conspired to sell controlled substance

analogues, known colloquially as “synthetic marijuana” and various trade names,

from the Speedy Market at 1799 Genesee Street in Buffalo, New York. Since the

Court’s prior order, defendant arranged to restore his conditional resident status

for an additional year and revived his application for a more permanent status.

(Dkt. No. 82-1.) As for other events in the case, co-defendant Adel Abdullah

faced a bond revocation hearing in September 2012 after an encounter with local

law enforcement but remained released on modified conditions. (See Minute

Entry Sept. 4, 2012.) All defendants filed various pretrial motions, though

defendant Albannaa lacks standing to join his co-defendants in certain motions

that they made to suppress statements and other evidence. The pretrial motions

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remain pending; the Court has scheduled suppression hearings for October 7,

2013.

        The change in his status and the anticipated time needed to resolve the

suppression motions prompted defendant to file the pending motion for

reconsideration on September 13, 2013. Defendant advances two arguments for

reconsideration. As noted above, defendant has taken the steps necessary to

renew his conditional resident status for another year, which in turn will allow him

to resume his pursuit of a more permanent resident status. Defendant cites his

ongoing immigration proceedings as proof that he wants to remain in this country

and has no intention of fleeing. Additionally, defendant notes that he is the only

one of the three defendants in this case who is in pretrial custody. The co-

defendants are the ones who stand to benefit from the upcoming suppression

hearings; given the somewhat limited role in the alleged drug conspiracy

attributed to him, defendant argues that there is no reason to extend his pretrial

custody indefinitely while his co-defendants proceed through hearings, transcript

orders, post-hearing briefing, an eventual Report and Recommendation, and

possible objections to Chief Judge Skretny.

        The Government discounts defendant’s arguments for reconsideration by

noting that defendant has not explained adequately why he let his conditional

resident status lapse for five years. Defendant’s conditional resident status

previously expired as of January 22, 2007; according to the Government,

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defendant’s unwillingness to uphold his duty to maintain that status indicates an

unwillingness to follow federal law. In fact, the Government argues that

defendant obtained a temporary renewal of his conditional resident status only

because it suited his self-interest in setting up the pending motion. Given

defendant’s history of immigration proceedings and the temporary nature of his

renewed conditional resident status, and given defendant’s lack of ties to the

area, the Government concludes that defendant remains a flight risk. The

Government also highlights the presumption of danger in favor of detention

precipitated by the nature of the charges against defendant.

III.     DISCUSSION

         “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such release

will not reasonably assure the appearance of the person as required or will

endanger the safety of any other person or the community.’” U.S. v. Sabhnani,

493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered when

assessing non-appearance or danger include the nature and circumstances of

the offense charged, the weight of the evidence against the person, the history

and characteristics of the person, and the nature and seriousness of the danger

to any person or the community that would be posed by the person’s release.

See 18 U.S.C. § 3142(g).

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      With respect to non-appearance, “the government carries a dual burden in

seeking pre-trial detention. First, it must establish by a preponderance of the

evidence that the defendant, if released, presents an actual risk of flight.

Assuming it satisfies this burden, the government must then demonstrate by a

preponderance of the evidence that no condition or combination of conditions

could be imposed on the defendant that would reasonably assure his presence in

court.” Sabhnani, 493 F.3d at 75 (citations omitted). “To order detention, the

district court must find, after a hearing, that the government has established the

defendant’s dangerousness by clear and convincing evidence. The rules of

evidence do not apply in a detention hearing. Further, the government may

proceed by proffer.” U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995) (citations

omitted).

      Once the Court has issued a detention order in the manner set forth above,

it may reconsider that order and reopen the detention hearing “at any time before

trial if the judicial officer finds that information exists that was not known to the

movant at the time of the hearing and that has a material bearing on the issue

whether there are conditions of release that will reasonably assure the

appearance of such person as required and the safety of any other person and

the community.” 18 U.S.C. § 3142(f)(2). “New and material information for

Section 3142(f)(2)(B) purposes consists of something other than a defendant’s

own evaluation of his character or the strength of the case against him: truly

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changed circumstances, something unexpected, or a significant event.” U.S. v.

Jerdine, No. 1:08 CR 00481, 2009 WL 4906564, at *3 (N.D. Ohio Dec. 18, 2009)

(citation omitted). Where evidence was available to defendant at the time of the

hearing, the hearing will not be reopened. See U.S. v. Dillon, 938 F.2d 1412,

1415 (1st Cir. 1991); U.S. v. Hare, 873 F.2d 796, 799 (5th Cir. 1989).

      Here, defendant’s conditional resident status changes the detention

analysis in several ways. That defendant has a recognized status when he had

none before diminishes the risk of non-appearance; non-appearance likely would

cripple his ongoing attempt to obtain a more permanent status. Apart from the

status in itself, defendant’s effort to obtain a permanent status signals a

commitment to proper legal1 procedures that mitigates the risk of non-

appearance. Cf. U.S. v. Castro-Inunza, No. 3:11–CR–00418–MA, 2012 WL

1697401, at *4 (D. Or. May 14, 2012) (“[T]he Government’s position on flight is

undermined by Defendant’s demonstrated desire to remain in this country. He


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         For the limited purpose of assessing the risk of non-appearance, even
illegal conduct to gain entry into the country can suggest an intent to stay and to
make necessary appearances. Cf. U.S. v. Ali, Crim. No. 11–0106, 2013 WL
4747011, at *16 n.12 (D.D.C. Sept. 5, 2013) (“Ali’s past misrepresentations to the
U.S. Immigration and Naturalization Service in 1988 and 1995 do not provide
support to the statutory presumption that he is a flight risk. A defendant’s
willingness to obtain and utilize fabricated documents to get into or stay in the
United States is minimally probative of his willingness to obtain and utilize
fabricated documents to get out of the United States.”) (citations omitted).




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sought and achieved permanent resident status, has been persistent in pursuing

legal proceedings to overturn the felony conviction that resulted in revocation of

permanent resident status, and—to the Government’s understandable

frustration—apparently keeps coming back to this country despite the

Government’s efforts to keep him out.”), rev’d, 2012 WL 1952652 (D. Or. May 30,

2012), rev’d and remanded, No. 12–30205, 2012 WL 6622075 (9th Cir. Jul. 23,

2012). The Government is not unreasonable in pointing out that defendant let his

conditional resident status expire. If that expiration represented a serious

immigration or criminal problem, however, then one federal agency or another

would have acted against defendant in some way other than restoring the status

and giving him a chance at a more permanent status. Meanwhile, substantive

proceedings in the past year appear not to have strengthened or weakened the

Government’s case, leaving a statutory presumption in favor of detention rebutted

by a lack of a prior criminal history and indications from the pre-indictment

complaint that limited defendant’s role to one direct sale and to working the

counter where he was employed. As a result, defendant’s immigration status and

proceedings no longer weigh in favor of detention as they did previously.

      Despite its willingness to allow defendant a chance at release, the Court

acknowledges that “the enforcement of all constitutional restraints upon

government in its efforts to administer the criminal law entails risks.” U.S. v.

Gonzales Claudio, 806 F.2d 334, 343 (2d Cir. 1986), superseded in part on other

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grounds by Fed. R. Crim P. 5(c). “That, of course, is true of every defendant

released on conditions; it is also not the standard authorized by law for

determining whether pretrial detention is appropriate. Section 3142 speaks of

conditions that will ‘reasonably’ assure appearance, not guarantee it.” U.S. v.

Xulam, 84 F.3d 441, 444 (D.C. Cir. 1996) (citation omitted). After reviewing the

factors set forth in 18 U.S.C. § 3142(g) and the circumstances of this case, the

Court finds that defendant’s conditions of release, at a minimum, would have to

include the following: 1) release to a residence of someone who has some kind of

permanent status in this country, with overall suitability of the residence to be

determined by the USPO; 2) electronic monitoring with home detention, with the

possibility of a change to a curfew upon a recommendation from the USPO; 3) a

$50,000 signature bond with the signature of at least one surety who has some

kind of permanent status in this country; 4) surrender of any domestic or foreign

passports in defendant’s name to the Clerk of the Court; and 5) any other

standard or special conditions of release that the USPO may recommend. If

defendant works with the USPO to satisfy the conditions listed above then the

Court will set a status conference to finalize the bail paperwork and the conditions

of release.

IV.     CONCLUSION

        For all of the foregoing reasons, the Court grants defendant’s motion for

reconsideration of bail (Dkt. No. 81) conditionally. The Court will release

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defendant only when he satisfies the minimum conditions set above and appears

for further proceedings to finalize those conditions and any others that the USPO

may recommend.

      Pursuant to 18 U.S.C. § 3142(h)(2), the Court hereby warns defendant that

committing any criminal offense while on pretrial release will lead, in addition to

any sentence imposed for any conviction in this case, to an additional sentence of

as much as 10 years under 18 U.S.C. § 3147. The Court warns defendant further

that a violation of any condition of release may lead to an immediate issuance of

a warrant for his arrest. Finally, the Court hereby places defendant on notice of

18 U.S.C. §§ 1503 (relating to intimidation of witnesses, jurors, and officers of the

court), 1510 (relating to obstruction of criminal investigations), 1512 (tampering

with a witness, victim, or an informant), and 1513 (retaliating against a witness,

victim, or an informant).

      In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

shall be construed as modifying or limiting the presumption of innocence.

      SO ORDERED.
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                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE
DATED: September 23, 2013




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